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                                      Creditor Matrix

  NYS Department of Labor
  W.A. Harriman State Campus- Bldg 12, Rm 509
  Albany, NY 12240
  Amount: 5344,396.29

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  601 Lexington Avenue
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